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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JOHN DOE,

Plaintiff,

. 16_Cv-3531 (WHP)
-against-

WEILL CoRNELL MEDICAL CoLLEGE MEMORANDUM & ORDER

OF CORNELL UNIVERSITY; JANE DOE,

Defendants.

 

 

WILLIAM H. PAULEY III, United States District Judge:

John Doe and Weill Cornell l\/ledical College (“Weill Cornell”) submit this
dispute regarding an annotation Weill Cornell proposes to make to Doe’s transcript and
permanent record. Plaintiff argues that Weill Cornell should be enjoined from making that
annotation prior to the conclusion of this litigation because it Would violate NeW York Education
Law Article 129~B and this Court’s l\/lay 20, 20l 6 injunction (Pl.’s l\/[ay 25, 2016 Letter, at 4~
5.) Weill Cornell’s proposed annotation, “Sanctioned for Code of Conduct Violation,” violates
neither

Article 129-13 requires educational institutions to place a notation on a student’s
transcript When the student is “suspended” or “expelled” after a “i`inding of responsibility for a
code of conduct violation,” When that violation relates to a “crime[] of violence, including, but
not limited to sexual violence.” N.Y. Educ. LaW § 6444(6). Article l29-B does not require a
transcript annotation here, Where John Doe Was neither suspended nor expelled l\/loreover, Weill
Cornell’s process did not establish that John Doe’s actions Would constitute a “crime” of “sexual
violence” as defined by the “federal Clery Act established in 20 U.S.C. § 1092(f)(l)(F)(i)(l)-
(Vlll).” _S_eeN.Y. Educ. LaW § 6444(6). However, Article 129-B does not prohibit educational

institutions from imposing transcript notations in the exercise of their discretion Indeed, recent

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guidance from the New York State Education Department specifically observes that educational
institutions “may (but are not required to) place notations” on a student’s transcript When the
institution deems the student’s actions to violate its code of conduct. Compliance with Education
Law Article 129~B, NEW YoRK STATE EDUCATION DEP’T 35, http://www.highered.nysed.
gov/ocue/documents/Articlel29-BGuidance.pdf (last visited June 7, 2016).

Similarly, the proposed annotation does not violate this Court’s l\/lay 20, 2016
preliminary injunction At the prelimina y injunction hearing this Court concluded that record
evidence relating to Weill Cornell’s Title lX investigation, coupled With the Appeals Committee’s
last-minute attempt to suspend John Doe’s graduation, suggested that he Was denied an
“adjudication/disciplinary process that adheres to legal and policy requirements of due process,”
Which is nuaranteed by Cornell University Policy 6.4 and its analogue at Weill Cornell Medical
College. (See Transcript of May 20, 2016 Preliminary lnjunction Hearing (“Pl Hearing”), at 34.)
This Court did not address the effect of a transcript or permanent record annotation at that
hearing, as John Doe only requested “emergency reliei” from the Appeals Committee’s decision
to halt his graduation, not the lesser sanctions imposed by Weill Cornell’s Revievv Panel. (Pl.’s
Temporary Restraining Order and Preliminary Injunction l\/lemorandum, ECF No. 5, at 3.)

To the extent John Doe seeks a new and distinct preliminary injunction, the
application is denied. As discussed at the preliminary injunction hearing, John Doe may prevail
on the merits if he can show that Weill Cornell applied its disciplinary process to him in a
discriminatory fashion that either departed from Cornell’s policies and practices or discriminated

against him based upon his gender or race.1 (E Pl Hearing at 13, 36*37.) This Court notes

that this showing may be supported by Weill Cornell’s submissions in this application, Which

 

1 Plaintiff advised this Court at the l\/lay 20 hearing that he intends to add a Title VI claim.

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' concede: (l) that Weill Cornell l\/ledical College has never previously placed such an annotation
on a student’s transcript, and indeed, has never previously investigated a similar disciplinary
infraction; and (2) that Cornell University actually “maintains a practice” of n_ot annotating
student transcripts unless a disciplinary proceeding results in suspension, expulsion, or
vvithdravval. (Weill Cornell’s June 3, 2016 Letter in Support of Transcript Annotation.) But
those are questions for the merits, not a preliminary injunction Here, John Doe’s application is
denied because the proposed sanction Would merely state that John Doe Was “[s]anctioned for [a]
Code of Conduct Violation.” The defamatory content of that statement is so diluted that it fails
to establish “irreparable injury,” Which is required for a preliminary injunction §§ Benihana,

Inc. v. Benihana ofTokyo, 784 F.3d 887, 895 (2d Cir. 2015).

Court advises the parties that they are no longer permitted to e=mail letter applications to
Chambers. All applications should be filed on the docket and should identify Plaintiff and the
Complainant by their pseudonyms, in compliance With Judge Preska’s prior order. (ECF No.
12.) Additionally, this Court intends to docket all prior letter applications submitted in this
action and supporting exhibits_other than Weill Cornell’s confidential Title lX investigative
report--and vacate the do'cket’s status as “party access only.” lf the parties intend for other
submissions to remain under seal, they shall identify such submissions by name and date and
justify the need for sealing by June 17, 2016. Any future motions to seal a party’s submissions
should be filed on ECF and comply With Section V(a) of this Court’s individual practices

Dated: June 8, 2016

New York, New York SC’ GRDEREDZ

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